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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION


 GAWAIN BAXTER, LAURA BAXTER     :
 and VALESKA PARIS,              :
                                 :
               Plaintiffs,       :
                                 :
      v.                         : Case No: 8:22-cv-986-TPB-JSS
                                 :
 DAVID MISCAVIGE, CHURCH OF      :
 SCIENTOLOGY INTERNATIONAL;      :
 RELIGIOUS TECHNOLOGY CENTER :
 (RTC); INTERNATIONAL            :
 ASSOCIATION OF SCIENTOLOGISTS :
 ADMINISTRATIONS (IASA); CHURCH :
 OF SCIENTOLOGY FLAG SERVICE     :
 ORGANIZATION, INC. (FSO); and   :
 CHURCH OF SCIENTOLOGY FLAG      :
 SHIP SERVICE ORGANIZATION, INC. :
 (FSSO),                         :
                                 :
               Defendants.       :


         PLAINTIFFS’ MOTION TO CLARIFY ORDER ON
  MOTION TO COMPEL ARBITRATION OR, IN THE ALTERNATIVE,
       TO LIFT THE STAY AS TO DEFENDANT MISCAVIGE

      1.    Plaintiffs GAWAIN BAXTER, LAURA BAXTER and VALESKA

PARIS (“Plaintiffs”), by their undersigned counsel, move to clarify the Court’s

Order on Motions to Compel Arbitration and to Dismiss (Doc. 188) (“the

Order”) entered March 31, 2023, or in the alternative, to lift the stay as to

Defendant Miscavige (“Miscavige”) for the reasons that follow.


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      2.    Plaintiffs and Miscavige (together “the Parties”) disagree as to

whether the Order requires arbitration of Plaintiffs’ claims against

Miscavige. Plaintiffs assert that the Order did not compel arbitration of

Plaintiffs’ claims against Miscavige because Miscavige never moved to compel

arbitration, and therefore the court lacked authority under the Federal

Arbitration Act (“FAA”) to order their claims against him to arbitration, and

because Miscavige disclaimed application of the Order to him by asserting

that he was not a party to the appeal from the Order in the Eleventh Circuit.

See Exhibit A, Notice of Nonparticipation of David Miscavige in the appeal of

the Order. Even though he never moved to arbitrate, Miscavige asserts that

the Order does apply to him because it mentions in a footnote language in the

arbitration agreements purporting to cover disputes with “entities and

individuals” related to Scientology and because the Court stayed the entire

action pending arbitration.

      3.    Plaintiffs filed this action against Defendant Miscavige

personally and entity Defendants Church of Scientology International;

Religious Technology Center (RTC); International Association of

Scientologists Administrations (IASA); Church of Scientology Flag Service

Organization, Inc. (FSO); and Church of Scientology Flag Ship Service

Organization, Inc. (FSSO)) (“Entity Defendants”).



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      4.     While Miscavige was fighting service of process, Entity

Defendants alone moved, over Plaintiffs’ objections, to compel arbitration.

After briefing and a hearing on the Entity Defendants’ motions to compel

arbitration, the Court granted the motions, stating: “The motions to compel

arbitration (Docs. 84; 85; 87; 88; 89) are GRANTED to the extent the Court

finds that Defendants may enforce the arbitration agreements in this case.”

(Doc. 188, p. 16). The Court further ordered, “The case is STAYED pending

the completion of arbitration. . . .”

      5.     Separately, in its discussion of the merits of Plaintiffs’ opposition

to the Entity Defendants’ motions to compel arbitration, in which Plaintiffs

argued that the arbitration agreements at issue were signed by only one of

the Entity Defendants and thus could not be enforced by the other, non-

signatory Entity Defendants, the Court stated in a footnote, “Although

Plaintiffs argue that the arbitration provision are not enforceable by third

parties, the agreements reflect an intent to arbitrate disputes and claims

against the Church and its related entities and individuals.” Id. at 6, n. 4.

      6.     Defendant Miscavige has stated: “As Mr. Miscavige is the only

individual defendant, the Order [Doc. 188] plainly encompasses Mr.

Miscavige, in its express terms and its reasoning. That is confirmed by the

Court’s Order staying this proceeding in its entirety and closing the docket.”



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David Miscavige’s Joinder to Opposition to Motion for Reconsideration Under

Fed. R. Civ. P. 54(b)(1), Doc. 198.

      7.    Plaintiffs now seek to move forward with their claims against

Defendants, but it is not clear from the Order whether they are required to

bring their claims against Miscavige in arbitration along with their claims

against the Entity Defendants. If the Order does not compel the claims

against Miscavige to arbitration, Plaintiffs wish to proceed with their claims

against him in Court.

      8.     Plaintiffs respectfully ask the Court to rule whether the Order

compels their claims against Miscavige to arbitration. If not, Plaintiffs move

to lift the stay as to Miscavige only and request that the Court set a deadline

for him to answer or otherwise respond to the Amended Complaint.

                                  Conclusion

      WHEREFORE, Plaintiffs respectfully ask the Court to decide whether

its Order (Doc. 188) granting Entity Defendants’ motions to compel

arbitration applies to Defendant Miscavige and, if not, to order that

Defendant Miscavige answer or otherwise respond to the Amended

Complaint within 20 days of the Court’s order.




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                     Local Rule 3.01(g) Certification

       In accordance with Local Rule 3.01(g), counsel for Plaintiffs have met

and conferred in good faith telephonically and by email with counsel for

Miscavige and have been unable to resolve this matter.



Dated: October 2, 2024                     Respectfully submitted,


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